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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )
             vs.                           )                8:06CR116
                                           )
LAVELLE GILES,                             )
                                           )
                    Defendant.             )


      IT IS ORDERED that the following is set for hearing on February 5, 2007 at
11:00 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      Arraignment on Fifth Superseding Indictment

      Since this is a criminal case, the defendants must be present, unless excused by
the Court.

      DATED this 23rd day of January, 2007.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
